         Case 18-32106 Document 133 Filed in TXSB on 05/25/18 Page 1 of 6




                         THE UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


                                                        §
In re:                                                  §         Chapter 11
                                                        §
ERIN ENERGY CORPORATION, et al.,                        §         Case No. 18-32106
                                                        §
                                                        §         (Jointly Administered)
                 Debtors.1                              §
                                                        §

       OBJECTION OF PUBLIC INVESTMENT CORPORATION SOC LTD.
    TO ENTRY OF AGREED ORDER RESOLVING EMERGENCY MOTIONS TO
                  MODIFY THE AUTOMATIC STAY AND
     COMPEL ASSUMPTION OR REJECTION OF EXECUTORY CONTRACTS

TO THE HONORABLE MARVIN ISGUR,
UNITED STATES BANKRUPTCY JUDGE:

                 Public Investment Corporation Soc. Ltd. (PIC) respectfully files this objection to

the entry of an agreed order (the Agreed Order) on the Emergency Motion for an Order

Pursuant to Sections 105(a), 362(d)(1), and 363(e) of the Bankruptcy Code Modifying the

Automatic Stay and Granting Related Relief, Dkt. No. 69 (the Stay Motion) and the Emergency

Motion to Compel Assumption or Rejection of Executory Contracts Pursuant to Sections 105(a),

105(d)(2), and 365(d)(2) of the Bankruptcy Code, Dkt. No. 71 (the Motion to Compel) filed by

Armada Oyo Limited (Armada) and Bumi Armada (Singapore) Pte Ltd. (BASPL and, together

with Armada, Bumi).




1
         The last four digits of Erin Energy Corporation’s (ERN) federal tax identification number are 9798. The
         other Debtors in these cases are: Erin Energy Limited (EEL); Erin Energy Kenya Limited (EEKL); and
         Erin Petroleum Nigeria Limited (EPNL). The Debtors’ service address is: 1330 Post Oak Blvd., Suite
         2250, Houston, Texas 77056.
        Case 18-32106 Document 133 Filed in TXSB on 05/25/18 Page 2 of 6




                                        BACKGROUND

               1.      PIC hereby incorporates, as if fully set forth herein, the background and

argument contained in its initial objection to the Cash Collateral Motion dated May 9, 2018, Dkt.

No. 45, its supplemental brief dated May 9, 2018, Dkt. No. 51, and its objection to the entry of a

final order dated May 18, 2018, Dkt. No. 84.

               2.      On May 14, 2018, Bumi filed the Stay Motion seeking relief from the stay

to take various actions with respect to the ownership and operation of the Armada Perdana, to

demobilize and return the vessel to port in light of significant safety and environmental risks, to

take all regulatory actions to discharge or cause to discharge the crude oil cargo, and to

commence or participate in any court proceedings to interplead the proceeds of any sale or

disposition of the crude oil stored in the Armada Perdana. The Assumption or Rejection Motion

sought to compel the Debtors to assume or reject their charter agreement with Armada and their

services agreement with BASPL, asserting a potential cure amount of over $128 million (the

Agreements). In its motions, Bumi described a moribund “business” that is out of options and

beyond rehabilitation. The record of the Debtors’ chapter 11 proceedings, to date, support that

description.

               3.      At the hearing held on May 23, 2018, the Debtors and Bumi announced a

“resolution” of Bumi’s motions and, later that day, filed an agreed order setting forth the terms of

their agreement, Dkt. No. 117 (the Agreed Order). The key terms of the agreement include the

Debtors’ payment of $2.5 million to Bumi in two installments beginning no later than May 30,

2018, and the Debtors’ funding of an escrow account with $200,000 to pay estimated expenses to

flush and lay down the lines if and when the Armada Perdana departs. Agreed Order ¶¶ 1, 5. As

the Debtors have no funds, these amounts will be paid entirely out of PIC’s cash collateral, and

indeed the timing of the first installment is keyed off of the entry of an order granting the

                                                 2
        Case 18-32106 Document 133 Filed in TXSB on 05/25/18 Page 3 of 6




Emergency Cash Collateral Motion. Agreed Order ¶ 1. Failure to pay either installment, or

voluntary termination by the Debtors, will result in the rejection of the Agreements, the

termination of any and all interests of the Debtors in and to the Armada Perdana, and the lifting

of the automatic stay without further notice or hearing to allow Bumi to demobilize the vessel.

Agreed Order ¶ 3. Even if both installments are paid, these events will also occur at Bumi’s sole

option on or after July 31, 2018, unless Bumi agrees otherwise. Agreed Order ¶ 4. In the

meantime, the stay is lifted to the extent necessary to allow Bumi to prepare to demobilize the

vessel. Agreed Order ¶ 2.

                                          OBJECTION

               4.      The Agreed Order should not be approved because it further demonstrates

the Debtors’ desperate and reckless business judgment and complete disregard of its fiduciary

duties. These “businesses” should not be in chapter 11. The assets of these Debtors, if there are

any, are beyond this Court’s ability to control in any meaningful way. It is the Nigerian courts

that will ultimately determine rights here.

               5.      The Debtors actually receive almost nothing in exchange for further

depleting PIC’s cash collateral. They get a mere sixty additional days to sell their story that

Nigerian litigation will go their way (even though they have yet to coherently or consistently

explain what is going on there), that Nigerian governmental agencies will cooperate, that Zenith

Bank will suddenly cooperate, and other contingencies will all resolve in their favor and on time.

If these contingencies do not go their way, the Debtors will have nothing to show for the

expenditure of $2.7 million. Meanwhile, Bumi (i) will collect $2.5 million which might be more

than they ever expected to get in the ordinary course (whether as a result of these bankruptcy

cases or in any other scenario); (ii) will be permitted to take all steps necessary to demobilize the

vessel short of disconnecting the risers and offloading the crude oil (Agreed Order ¶ 2.)

                                                 3
        Case 18-32106 Document 133 Filed in TXSB on 05/25/18 Page 4 of 6




rendering any resumption of operations in Nigeria unlikely in the hands of the Debtors; (iii) will

receive into escrow the estimated cost of flushing and laying down the lines if and when the

vessel is actually disconnected (Agreed Order ¶ 5); (iv) does not waive, and indeed, expressly

reserves, administrative and other claims against the Debtors that it has previously alleged to be

as much as $128 million (Agreed Order ¶ 7); and (v) will automatically prevail on both the Stay

Motion and the Motion to Compel if no further agreement is reached by July 31, 2018 (Agreed

Order ¶ 4). It will also bind any trustee that may be appointed in the future (Agreed Order ¶ 11).

               6.      The Agreed Order is a complete surrender by the Debtors to one creditor

to the detriment of the rest, which has the simple effect of transferring $2.7 million of recovery

from PIC to Bumi. In this respect, the Agreed Order seeks to prefer the interests of Bumi over

those of PIC, in circumstances where the Debtors have not been able to demonstrate an ability to

reorganize, and where Bumi would otherwise have had no entitlement to any such elevated status

in respect of these funds. It also places total control over the outcome of these cases in the hands

of a party that is owed $128 million. The automatic stay should either (i) lift immediately or (ii)

remain in place, but should not be bought on these terms by the Debtors who will have nothing

to show for such expenditure.




                                                 4
        Case 18-32106 Document 133 Filed in TXSB on 05/25/18 Page 5 of 6




                                         CONCLUSION

               7.     For the foregoing reasons, PIC respectfully requests that this Court decline

to enter the Agreed Order and grant such other and further relief as it deems just and proper.

Dated: May 25, 2018
Houston, Texas


                                                             VINSON & ELKINS LLP

                                                             /s/ Bradley R. Foxman
                                                             Rebecca L. Petereit
                                                             (Texas Bar No. 24062776)
                                                             Bradley R. Foxman
                                                             (Texas Bar No. 24065243
                                                             Trammell Crow Center
                                                             2001 Ross Avenue, Suite 3700
                                                             Dallas, Texas 75201
                                                             rpetereit@velaw.com
                                                             bfoxman@velaw.com

                                                             Attorneys for Public Investment
                                                             Corporation Soc. Ltd.




                                                 5
        Case 18-32106 Document 133 Filed in TXSB on 05/25/18 Page 6 of 6




                             CERTIFICATE OF SERVICE

       I hereby certify that on May 25, 2018, a true and complete copy of the foregoing

objection was served upon filing via the Court’s CM/ECF electronic system on all parties

subscribing thereto.

                                                      /s/ Bradley R. Foxman
                                                      Bradley R. Foxman




                                           6
